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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 11
    LORDSTOWN MOTORS CORP, et al., 1
                                                                 Case No. 23-10831 (MFW)
             Debtor.


             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that Landis Rath & Cobb LLP hereby enters its appearance in

the above-captioned case as counsel for Judith Hannaway, Steven Hash, Andrew Richardson, and

Mark Walsh (collectively, the “Claimants”) pursuant to 11 U.S.C. § 1109(b) and rules 2002,

3017(a), 9007, and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and rule 2002-1(d) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware, and request that copies of any and all notices and

papers filed or entered in this case be given to and served upon the following:

                                    LANDIS RATH & COBB LLP
                                    Richard S. Cobb, Esq.
                                    Joshua B. Brooks, Esq.
                                    919 Market Street, Suite 1800
                                    Wilmington, Delaware 19801
                                    Telephone: (302) 467-4400
                                    Facsimile: (302) 467-4450
                                    Email: cobb@lrclaw.com
                                           brooks@lrclaw.com


             PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 1109(b), the

foregoing demand includes not only the notices and papers referred to in the above-mentioned

Bankruptcy Rules, but also includes, without limitation, all orders, applications, motions, petitions,



1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.



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pleadings, requests, complaints or demands, whether formal or informal, written or oral,

transmitted or conveyed by mail delivery, telephone, facsimile or otherwise, in the above-

captioned case and all proceedings therein.

         PLEASE TAKE FURTHER NOTICE that neither this notice nor any subsequent

appearance, pleading, claim, or suit is intended nor shall be deemed to waive the Claimants’ (i)

right to have final orders in non-core matters entered only after de novo review by a district court

judge; (ii) right to trial by jury in any proceedings so triable herein or in any case, controversy or

proceeding related hereto; (iii) right to have the reference withdrawn by the United States District

Court in any matter subject to mandatory or discretionary withdrawal; or (iv) other rights, claims,

actions, defenses, setoffs or recoupments to which it is or may be entitled under agreements, at law

or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments expressly are

hereby reserved.



Dated: March 4, 2024                           LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                               /s/ Richard S. Cobb
                                               Richard S. Cobb (No. 3157)
                                               Joshua B. Brooks (No. 6765)
                                               919 Market Street, Suite 1800
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 467-4400
                                               Facsimile: (302) 467-4450
                                               Email: cobb@lrclaw.com
                                                       brooks@lrclaw.com

                                               Counsel to Judith Hannaway, Steven Hash, Andrew
                                               Richardson, and Mark Walsh




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